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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:17−cr−00489
                                                         Honorable Robert M. Dow Jr.
David Sanchez
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 25, 2021:


        MINUTE entry before the Honorable Robert M. Dow, Jr as to David Sanchez:
Telephone conference held. By agreement of the parties, sentencing is set for 12/10/2021
at 9:00 a.m. Defendant consents to sentencing by video conference. Counsel to submit a
proposed CARES Act order by no later than 11/29/2021. Sentencing material and any
memoranda making objections to the presentence report, seeking sentencing departures or
variances, or otherwise discussing the sentencing factors set forth in Title 18 U.S.C.
Section 3553(a) must be filed (in one combined filing per side) by 11/24/2021. In their
sentencing materials, the parties must state whether they have any objections to, or
alternate recommendations regarding, both the term and conditions of supervised release
as recommended by the Probation Office. Any responses must be filed by 12/3/2021.
Failure to file the material or memoranda by that deadline risks waiver or forfeiture,
including the inability to raise untimely objections to the presentence report. The
Government shall e−mail a completed Victim Electronic Spreadsheet (with the victim(s)
and loss amount(s)) to the Courtroom Deputy and the Probation Officer by no later than
11/24/2021. The victim import spreadsheet is listed on our website on other forms page.
Global addresses for victims: Financial institution/government agencies/buy money are to
be used for these victims instead of branch locations etc. Emailed notice (cdh, )




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